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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
______________________________________x

In re:                                                        Case No. 24-22204 shl
      AZG Sales Inc.                                          Chapter 11
         Debtor
_____________________________________x

               DEBTOR’S RESPONSE TO TRUSTEE’S MOTION TO DISMISS

          Charles Wertman, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury:

1.        I am the proposed attorney for AZG Sales Inc. the Chapter 11 Debtor (hereinafter referred

to as the “Debtor”). I am a member of the4 Bar of the State of New York and admitted to

practice law in the United States District Court for the Southern District.

2.        I submit this declaration in response to the Trustee’s Motion to Dismiss this Chapter 11

case and respectfully represents as follows:

3.        Except for there Monthly Operating Reports which are in the midst of preparation. All of

the missing documents and requested information has been submitted.

4.        Given the above, the Debtor respectfully submits that the Motion to Dismiss should be

denied.

          WHEREFORE, Debtor respectfully requests that Trustee’s Motion to Dismiss this

Chapter 11 case be denied in its entirety, and for such further relief as this Court deems just and

proper.

Dated: Rockville Centre, New York                     Law Offices of Charles Wertman, P.C.
       June 7, 2024                                   Attorneys for Debtor AZG Sales Inc.
                                                      By: /s/ Charles Wertman, Esq.
                                                      Charles Wertman, Esq.
                                                      100 Merrick Road, Suite 304W
                                                      Rockville Centre, New York 11570
                                                      (516) 284-0900
